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     Attorney for Defendant
 5
 6                               UNITED STATES DISTRICT COURT

 7                                     DISTRICT OF NEVADA

 8
     UNITED STATES OF AMERICA,                            Case No. 2:18-cr-00243-JCM-BNW
 9
                    Plaintiff,                            STIPULATION AND ORDER TO
10
                                                          CONTINUE SENTENCING
            v.
11
     FREDDIE LAMONT PRENTISS,
12
                    Defendant.
13
14
            IT IS HEREBY STIPULATED AND AGREED, by and between Joshua Brister,
15
     Assistant United States Attorney, and Chris T. Rasmussen, Esq., counsel for Freddie Prentiss,
16
     that the sentencing currently scheduled for December 3, 2021 at 11:00 a.m., be vacated and set
17
     to a date and time convenient to this Court but no sooner than thirty (30) days.
18
     This Stipulation is entered into for the following reasons:
19
            1. The parties agree to a continuance;
20
            2. Defendant is currently in custody;
21
            3. Counsel for Defendant needs additional time to adequately prepare for sentencing;
22
            4. Counsel for the Defendant has spoken to the Defendant and the Defendant has no
23
     objection to this continuance;
24
            5. Denial of this request could result in a miscarriage of justice;
25
26
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 1          6. For all the above- stated reasons, the ends of justice would best be served by a
 2   continuance of the sentencing date by 30 days.
 3          7. This is the second request for continuance.
 4          DATED this 29th day of November, 2021.
 5
 6   /s/ Chris T. Rasmussen                               /s/ Joshua Brister
     _________________________                            ______________________________
 7
     CHRIS T. RASMUSSEN, ESQ.                             JOSHUA BRISTER
 8   Attorney for Defendant                               Assistant United States Attorney

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 5
 6                               UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA
 8   UNITED STATES OF AMERICA,
 9                                                         Case No.: 2:18-cr-00243-JCM-BNW
                    Plaintiff,
10
            vs.                                            FINDINGS OF FACT AND
11                                                         CONCLUSIONS OF LAW

12   FREDDIE LAMONT PRENTISS,

13               Defendant.
     ____________________________________
14
                                         FINDINGS OF FACT
15
            Based on the stipulation of counsel, and good cause appearing, the Court finds that:
16
            1. The parties agree to a continuance;
17
            2. Defendant is currently in custody;
18
            3. Counsel for Defendant needs additional time to adequately prepare for sentencing;
19
            4. Counsel for the Defendant has spoken to the Defendant and the Defendant has no
20
     objection to this continuance.
21
                                      CONCLUSIONS OF LAW
22
            1. Denial of this request would result in a miscarriage of justice;
23
            2. For all the above-stated reason, the ends of justice would best be served by a
24
     continuance of the sentencing date for thirty days.
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 1                              UNITED STATES DISTRICT COURT
 2                                    DISTRICT OF NEVADA
 3
 4   UNITED STATES OF AMERICA,
                                                         Case No.: 2:18-cr-00243-JCM-BNW
 5                 Plaintiff,
 6
            vs.                                          ORDER
 7
 8   FREDDIE LAMONT PRENTISS,

 9               Defendant.
     ____________________________________
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            Accordingly, IT IS SO ORDERED that the sentencing currently scheduled for
11
12   December 3, 2021 at the hour of 11:00 a.m., be vacated and continued to

13   February 11, 2022, at the hour of 11:00 a.m.. by video conference.
14          DATED December
                  this ______1,day
                                2021.
                                   of November, 2021.
15
16
                                                         _________________________________
17                                                       UNITED STATES DISTRICT JUDGE
                                                         JAMES C. MAHAN
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